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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                       )    MDL No. 2740
PRODUCTS LIABILITY LITIGATION                     )
                                                  )
This Document Relates to:                         )    SECTION “H” (5)
                                                  )
Ami Cisco v. Sanofi-Aventis U.S. LLC., et al.;    )    HON. JUDGE JANE TRICHE MILAZZO
Case No. 2:17-cv-16594                            )
                                                  )
_____________________________________             )    MAG. JUDGE MICHAEL NORTH


                                                 ORDER

          Considering the foregoing Motion to Substitute:

          IT IS ORDERED that the Plaintiff’s Motion to Substitute Party is hereby GRANTED, and

  that Todd Henshaw, on behalf, Ami Cisco, deceased, and the Estate of Ami Cisco, be substituted

  as the proper party plaintiff, herein.


          Signed New Orleans, Louisiana this          day of                    , 2019.




                                                               _____________________________
                                                               Hon. Jane Triche Milazzo
                                                               United States District Judge
